           Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 1 of 20




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
ex rel. LORI MORSELL, et al.,                     :
                                                  :
       Plaintiffs,                                :      Civil Action No.:      12-800 (RC)
                                                  :
       v.                                         :      Re Document No.:       200
                                                  :
NORTONLIFELOCK, INC.                              :
(f/k/a SYMANTEC CORPORATION),                     :
                                                  :
       Defendant.                                 :

                                 MEMORANDUM OPINION

                     DENYING DEFENDANT’S MOTION FOR RECONSIDERATION

                                      I. INTRODUCTION

       Defendant NortonLifeLock Incorporated (“Norton”)1 seeks reconsideration of three

aspects of the Court’s earlier summary judgment rulings regarding the Federal Government’s

(“Government”) Federal False Claims Act (“FCA”) claims and the related state claims of

California, Florida, and Relator Morsell on behalf of New York (collectively, “the States”).

Specifically, Norton argues “that the Court’s opinion (1) failed to properly apply the binding

standard set by the Supreme Court in Universal Health Systems, Inc. v. U.S. ex rel. Escobar, 136

S. Ct. 1989 (2016), to its analysis of the FCA element of materiality; and (2) failed to apply

correctly the controlling precedent of this Circuit in U.S. ex rel. Purcell v. MWI Corp., 807 F.3d

281 (D.C. Cir. 2015), to its analysis of the FCA element of scienter.” Mot. for Recons. at 1, ECF



       1
          The Court stated in its opinion regarding motions for summary judgment that it would
refer to the company previously known as Symantec Corporation by its new name going
forward. United States ex rel. Morsell v. Symantec Corp., 471 F. Supp. 3d 257, 266 n.1 (D.D.C.
2020). However, the Court has not replaced instances of “Symantec” in quotations.
         Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 2 of 20




No. 200. For the reasons given below, the Court holds that Norton’s motion does not meet the

standard for reconsideration, and therefore is denied.

                                      II. BACKGROUND

       Because this is a motion for reconsideration, the relevant background is the same as the

background from the opinion Norton asks the Court to reconsider. See United States ex rel.

Morsell v. Symantec Corp., 471 F. Supp. 3d 257, 267–76 (D.D.C. 2020). To summarize, the

Government and the States claim that Norton violated the FCA, common law, state false claims

acts, and state contract law when, “in the process of setting pre-negotiated maximum prices for

government purchasers with the General Services Administration, Symantec overcharged them

by misrepresenting the existence of certain prices and discounts that were available to

Symantec’s private customers and by consequently failing to offer government purchasers the

same low prices these customers received.” Id. at 267. Norton was “required to make certain

representations and to provide details about their discounting policies” in their Commercial Sales

Practices Format (“CSPs”) disclosures, id. at 269, which were part of Norton’s contract, see id. at

281–82. Norton’s contract also contained a Price Reduction Clause (“PRC”), which “ensures

that the Government’s prices are reduced if [an agreed-upon] customer or category of customers

is given lower pricing or increased discounts.” Id. at 270. The Government’s claims at issue in

this motion concern alleged falsities regarding Norton’s CSPs and PRC.

       The Court ruled on the parties’ motions for summary judgment on March 30, 2020.

Among other rulings, the Court denied Norton’s motion for summary judgment that the CSPs

and PRC were not material under the FCA, denied Norton’s motion for summary judgment that

Norton lacked knowledge of the falsities regarding its CSPs and PRC under the FCA, and denied

Norton’s motions for summary judgment on the States’ claims.




                                                 2
         Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 3 of 20




       Norton now moves for reconsideration of these rulings, arguing that the Court incorrectly

denied summary judgment on the Government’s claims regarding materiality and knowledge due

to “misapplication of Supreme Court precedent in Escobar and Circuit precedent in Purcell,” and

that the States’ claims fail for the same reasons because they “are derivative of the government’s

federal FCA claims” and also because the States’ claims “depend on additional and separate

evidence that neither the States nor the Relator have identified in the record.” Mem. Supp. Mot.

for Recons. (“Mem.”) at 7, ECF No. 200-1. The motion has been fully briefed. See United

States’ Opp’n Mot. for Recons., ECF No. 202; States’ Opp’n Mot. for Recons., ECF No. 203;

Reply to United States’ Opp’n (“Reply”), ECF No. 204; Reply to States’ Opp’n, ECF No. 205.

                                    III. LEGAL STANDARD

       “Federal Rule of Civil Procedure 54(b) [(‘Rule 54(b)’)] governs reconsideration of orders

that do not constitute final judgments in a case.” Singh v. George Wash. Univ., 383 F. Supp. 2d

99, 101 (D.D.C. 2005) (quoting Cobell v. Norton, 355 F. Supp. 2d 531, 539 (D.D.C. 2005)).

Rule 54(b) provides that “any order or other decision, however designated, that adjudicates fewer

than all the claims or the rights and liabilities of fewer than all the parties”—that is, any order of

interlocutory judgment—“may be revised at any time before the entry of judgment adjudicating

all the claims and all the parties’ rights and liabilities.” Fed. R. Civ. P. 54(b). Relief upon

reconsideration of an interlocutory decision pursuant to Rule 54(b) is within the discretion of the

district court, see Lewis v. United States, 290 F. Supp. 2d 1, 3 (D.D.C. 2003), and may be entered

“as justice requires,” Estate of Botvin ex rel. Ellis v. Islamic Republic of Iran, 772 F. Supp. 2d

218, 223 (D.D.C. 2011) (quoting Childers v. Slater, 197 F.R.D. 185, 190 (D.D.C. 2000)). “‘As

justice requires’ indicates concrete considerations of whether the court ‘has patently

misunderstood a party, has made a decision outside the adversarial issues presented to the [c]ourt




                                                  3
         Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 4 of 20




by the parties, has made an error not of reasoning, but of apprehension, or where a controlling or

significant change in the law or facts [has occurred] since the submission of the issue to the

court.’” Id. (quoting Cobell v. Norton, 224 F.R.D. 266, 272 (D.D.C. 2004)). “Errors of

apprehension may include a Court’s failure to consider ‘controlling decisions or data that might

reasonably be expected to alter the conclusion reached by the court.’” Singh, 383 F. Supp. 2d at

101 (quoting Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995)). As such, “[i]n

general, a court will grant a motion for reconsideration of an interlocutory order only when the

movant demonstrates: ‘(1) an intervening change in the law; (2) the discovery of new evidence

not previously available; or (3) a clear error in the first order.’” Zeigler v. Potter, 555 F. Supp.

2d 126, 129 (D.D.C. 2008) (quoting Keystone Tobacco Co., Inc. v. U.S. Tobacco Co., 217 F.R.D.

235, 237 (D.D.C. 2003)). A court’s discretion to grant a Rule 54(b) motion, however, is “limited

by the law of the case doctrine and ‘subject to the caveat that, where litigants have once battled

for the court’s decision, they should neither be required, nor without good reason permitted, to

battle for it again.’” Judicial Watch v. U.S. Dep’t of the Army, 466 F. Supp. 2d 112, 123 (D.D.C.

2006) (quoting Singh, 383 F. Supp. 2d at 101).

       Summary judgment is appropriate only where the summary judgment “movant shows

that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). The movant bears the initial burden of identifying

portions of the record that demonstrate the absence of any genuine issue of material fact. See

Fed. R. Civ. P. 56(c)(1); Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). A “material” fact is

one capable of affecting the substantive outcome of the litigation. See Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute is “genuine” if there is enough evidence for a

reasonable jury to return a verdict for the non-movant. See Scott v. Harris, 550 U.S. 372, 380




                                                  4
           Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 5 of 20




(2007). In response, the non-movant must point to specific facts in the record that reveal a

genuine issue that is suitable for trial. See Celotex, 477 U.S. at 324. In determining whether a

genuine issue exists, a court must refrain from making credibility determinations or weighing the

evidence; rather, “[t]he evidence of the non-movant is to be believed, and all justifiable

inferences are to be drawn in his favor.” Anderson, 477 U.S. at 255; see also Czekalski v. Peters,

475 F.3d 360, 363 (D.C. Cir. 2007). “In order to establish that a fact is or cannot be genuinely

disputed, a party must (a) cite to specific parts of the record—including deposition testimony,

documentary evidence, affidavits or declarations, or other competent evidence—in support of its

position, or (b) demonstrate that the materials relied upon by the opposing party do not actually

establish the absence or presence of a genuine dispute.” United States v. Dynamic Visions, Inc.,

220 F. Supp. 3d 16, 19–20 (D.D.C. 2016) (citing Fed. R. Civ. P. 56(c)(1)).

                                          IV. ANALYSIS

       Norton suggests several potential legal justifications for Rule 54(b) reconsideration of the

Court’s prior summary judgment rulings, but only one of those merits significant analysis. First,

Norton argues that reconsideration is justified “to correct ‘error in [the Court] failing to consider

controlling decisions.’” Reply at 4 (quoting Bayshore Cmty. Hosp. v. Azar, 325 F. Supp. 3d 18,

22 (D.D.C. 2018)). This is the only ground for reconsideration that Norton advances with any

particularity. Norton argues that “[u]nder the Supreme Court’s holding in Escobar and the D.C.

Circuit’s holding in Purcell, the government has failed to meet its burden of proof regarding the

elements of materiality and scienter, necessary elements of its FCA claims as to which it bears

the burden of proof at summary judgment and at trial.”2 Mem. at 9. Norton also argues that the



       2
        Norton argues repeatedly that “the Court’s holdings . . . reflect a misapplication of the
summary judgment standard.” E.g., Mem. at 18 n.7. For reasons discussed in this section, this
alone would not justify reconsideration even if true. Regardless, the Court disagrees. For

                                                  5
         Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 6 of 20




State claims fail for the same reasons because they “are derivative of the government’s federal

FCA claims.” Mem. at 7. Norton therefore asserts that the Court failed to consider two

supposedly controlling decisions. Because failing to consider controlling decisions is a sufficient

ground for reconsideration, the Court analyzes the sufficiency of this argument below.

       Second, Norton argues that reconsideration is justified to ensure the “proper application

of controlling D.C. Circuit and Supreme Court authorities.” Reply at 4; see also Mot. for

Recons. at 1 (arguing that the Court “failed to properly apply” controlling precedent). However,

the Court does not believe that reconsideration is appropriate merely because a party seeks the

“proper application of controlling . . . authorities.” Reply at 4. Norton cites no authority

supporting Rule 54(b) reconsideration merely for misapplication of precedent. Such an

interpretation of the Rule 54(b) standard would be in tension with the stricter standard described

above: “fail[ure] to consider controlling decisions.” Bayshore Cmty. Hosp., 325 F. Supp. 3d at

22 (emphasis added). It would also be in tension with the Court’s admonition that “where

litigants have once battled for the court’s decision, they should neither be required, nor without

good reason permitted, to battle for it again.” Judicial Watch, 466 F. Supp. 2d at 123 (quoting

Singh, 383 F. Supp. 2d at 101). Were the Court to allow reconsideration merely to re-analyze

and re-apply precedent, Norton would indeed have been granted the opportunity to battle for the

court’s decision again. “[D]isagreeing with a court’s answer to an argument is not proper cause

to pursue reconsideration; that is better left to the appellate process.” Talbot v. U.S. Dep’t of




example, Norton argues that some of the Government’s claims should not have survived
summary judgment because the Court recognized that “[t]he Government has yet to establish
[that false disclosures were the basis of its prices].” Id. (second alteration in original) (quoting
Symantec, 471 F. Supp. 3d at 296). But the immediately preceding sentences clarify that
“genuine issues of material fact preclude summary judgment.” Id. No other example of the
Court’s supposed misapplication of the summary judgment standard is convincing.


                                                  6
         Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 7 of 20




State, 373 F. Supp. 3d 212, 220 (D.D.C. 2018). The Court therefore will not consider this

supposed ground for reconsideration.

       Third, Norton argues in reply that the Court has discretion to reconsider its own

interlocutory decisions even when Rule 54(b) is not met. Reply at 4 n.1. Given Norton raised

this ground for reconsideration for the first time in reply, the Court will not consider it now. See

Baloch v. Norton, 517 F. Supp. 2d 345, 348 n.2 (D.D.C. 2007) (“If the movant raises arguments

for the first time in his reply to the non-movant’s opposition, the court [may] either ignore those

arguments . . . or provide the non-movant an opportunity to respond.”), aff'd sub nom. Baloch v.

Kempthorne, 550 F.3d 1191 (D.C. Cir. 2008).

       Fourth, Norton states that reconsideration is justified if a court “patently misunderstood

the parties.” Mem. at 8 (quoting Bayshore Cmty. Hosp., 325 F. Supp. 3d at 22). But Norton

does not advance any argument that the Court misunderstood the parties. See, e.g., Mem. at 1

(arguing in brief’s first paragraph that “[t]he Court’s findings and conclusions . . . did not

properly apply the controlling authorities of this Circuit and of the Supreme Court,” without

mentioning anything about misunderstanding the parties). The Court will not consider this

ground for reconsideration.

       Norton’s motion for reconsideration will therefore only be justified “to correct ‘error in

[the Court] failing to consider controlling decisions.’” Reply at 4 (quoting Bayshore Cmty.

Hosp., 325 F. Supp. 3d at 22). As discussed below, the Court holds that Norton has not shown

that the Court failed to consider any controlling decisions in its summary judgment opinion

regarding the materiality or knowledge elements of the FCA claims.




                                                  7
         Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 8 of 20




                                         A. Materiality

       Norton argues that the Government produced no sufficient evidence of materiality as

required by Escobar, and therefore that Norton is entitled to summary judgment on materiality.

Mot at 9. Norton’s motion fails on this issue because the Court already applied Escobar to find

sufficient evidence of materiality to prevent summary judgment in Norton’s favor. The Court

explicitly considered Escobar and Norton’s related arguments:

       The Court’s decision on the motion to dismiss predated Escobar, but nothing the
       Supreme Court said in that case changes the analysis here. Symantec seems to
       argue otherwise and to suggest that the Government has asserted the kind of “per
       se materiality” forbidden by Escobar. . . . If, in the course of litigation, it turns
       out that the misrepresentations the Government can actually prove are only
       “minor or insubstantial,” Symantec can renew the argument that Escobar requires
       more for materiality. As it stands now, though, the misrepresentations that remain
       the subject of genuine disputes are substantial enough to meet the materiality
       threshold.

Symantec, 471 F. Supp. 3d at 263–64 (citation omitted). Norton therefore fails to show that the

Court failed to consider controlling decisions by not considering Escobar.

       Although that could be the end of the inquiry for materiality, to be thorough the Court

will also analyze whether the Court failed to previously consider certain aspects of Escobar,

rather than the decision as a whole. As explained below, Norton fails to identify aspects of

Escobar that the Court failed to consider because Norton points to two supposed requirements

that are not actually required by Escobar.

       First, Norton argues that the Government must identify evidence of its actual contracting

or payment decisions to prevent summary judgment on materiality. See, e.g., Mem. at 9 (“the

government presented no evidence regarding the government’s actual contracting or payment

decisions”); Mem. at 10 (“Rather, the government must prove materiality with evidence that the

government would not have paid the allegedly false claim if it had known of its alleged falsity”);

Reply at 6 (“Under any theory of liability, the FCA requires the plaintiff to adduce evidence that


                                                8
         Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 9 of 20




the alleged falsity in the subject claims actually affected the government’s decision making.”);

Reply at 8 (“This is entirely consistent with the central teaching of Escobar that materiality

requires a showing of actual effect on government decision making.”). But Escobar does not

require such a showing.

        We need not decide whether § 3729(a)(1)(A)’s materiality requirement is
        governed by § 3729(b)(4) or derived directly from the common law. Under any
        understanding of the concept, materiality “look[s] to the effect on the likely or
        actual behavior of the recipient of the alleged misrepresentation.” 26 R. Lord,
        Williston on Contracts § 69:12, p. 549 (4th ed. 2003) (Williston). In tort law, for
        instance, a “matter is material” in only two circumstances: (1) “[if] a reasonable
        man would attach importance to [it] in determining his choice of action in the
        transaction”; or (2) if the defendant knew or had reason to know that the recipient
        of the representation attaches importance to the specific matter “in determining
        his choice of action,” even though a reasonable person would not. Restatement
        (Second) of Torts § 538, at 80.

Escobar, 136 S. Ct. at 2002–03 (italics added; other alterations in original). If materiality looks

to the effect on the “likely” behavior of the recipient, it cannot always require evidence of actual

effect. Similarly, the above-referenced statute does not require demonstrating effect on actual

contracting or payment decisions: “[T]he term ‘material’ means having a natural tendency to

influence, or be capable of influencing, the payment or receipt of money or property.” 31 U.S.C.

§ 3729(b)(4). Norton does not cite any support for its claim that “the government must prove

materiality with evidence that the government would not have paid the allegedly false claim if it

had known of its alleged falsity.” Mem. at 10.

        The D.C. Circuit recently confirmed this understanding. In analyzing whether a relator

adequately pleaded materiality for a fraudulent inducement claim regarding sales of software

licenses to the IRS, the court explained that “[i]t is . . . plausible that the IRS could have later

learned of IBM’s fraud and continued to pay for the licenses for any number of reasons that do

not render IBM’s fraud immaterial.” United States ex rel. Cimino v. Int’l Bus. Machines Corp.,

No. 19-cv-7139, 2021 WL 2799946, at *8 (D.C. Cir. July 6, 2021). The court continued, stating


                                                   9
        Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 10 of 20




that “[a]t a later stage in the litigation, evidence of the IRS’s continued payment under the

license agreement might be used to demonstrate that IBM’s false audit was not material to the

IRS.” Id. (emphasis added). This refutes Norton’s argument that “the government must prove

materiality with evidence that the government would not have paid the allegedly false claim if it

had known of its alleged falsity,” Mem. at 10, by acknowledging that evidence of the IRS

continuing to pay under a contract that it knew was induced by fraud merely might demonstrate

materiality, Cimino, 2021 WL 2799946, at *8.

       Norton argues for a meaning of materiality closer to that of causation, but “materiality

and causation are not the same.” Id. at *5. Materiality concerns the natural tendency or

capability to influence, while causation concerns whether the falsity in fact caused the result.

See id. As the D.C. Circuit recently explained using the example of fraudulent inducement, “a

statement could be material—that is, capable of influencing the government’s decision to enter a

contract—without causing the government to do so.” Id. Under Norton’s interpretation that

materiality requires proving that the Government would not have paid a false claim if it had

known of the falsity, materiality would essentially be the same as causation.

       Norton cites United States ex rel. McBride v. Halliburton Co., 848 F.3d 1027 (D.C. Cir.

2017), to support its argument that the Government was required to provide evidence of “their

actual contracting decisions based on the alleged omissions.” Mem. at 12 (citing McBride, 848

F.3d at 1029). But McBride does not dictate that requirement. The relator in McBride alleged

that the defendant “may have used inflated headcounts to justify excessive staffing levels” that in

turn led to unreasonable costs. McBride, 848 F.3d at 1033. But the relator did “not actually set

out to prove that staffing was excessive or costs were ‘unreasonable,’” relying instead on “[t]he

assumption . . . that accurate headcount data was relevant to determining the reasonableness of




                                                 10
        Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 11 of 20




costs” and testimony that a contracting officer “‘might’ have investigated further had he known

false head counts were being maintained, and that such an investigation ‘might’ have resulted in

some charged costs being disallowed.” Id. In opposition, the defendant proffered evidence that

headcount had not initially been used to make staffing decisions and that “headcount data . . . had

no bearing on costs.” Id. The court concluded that “[a]bsent any connection between

headcounts and cost determinations,” the relator had failed to proffer sufficient evidence of

materiality to avoid summary judgment. Id.

       Nowhere does McBride say that materiality must be shown by evidence of actual

contracting decisions. In fact, the court quoted Escobar’s guidance that materiality “look[s] to

the effect on the likely or actual behavior of the recipient of the alleged misrepresentation.” Id.

at 1032 (quoting Escobar, 136 S. Ct. at 2002). The court emphasized “actual” because there was

evidence that the government continued to pay even after learning of the allegations and did not

disallow any charges after an investigation. Id. at 1034. If evidence of actual behavior was

always necessary, there would have been no reason to specifically call out “actual behavior”

because it would have been the only relevant type of evidence. See id. at 1032 (“[C]ourts need

not opine in the abstract when the record offers insight into the Government’s actual payment

decisions.” (emphasis added)). The defect in the relator’s evidence in McBride instead related to

the lack of “any connection between headcounts and cost determinations,” id. at 1033, discussed

further below.

       Second, Norton argues that the Court erred by treating certain contract terms as per se

material. See, e.g., Mem. at 18 (“The government’s arguments on materiality, both in opposition

to Symantec’s motion and in support of its own, and the Court’s acceptance of those arguments,

commit the very analytical error against which Escobar warns—application of a per se




                                                 11
        Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 12 of 20




materiality standard based solely on the terms of applicable regulations, contracts, or conditions

of payment.”). At the outset, this argument fails to justify reconsideration because the Court

explicitly acknowledged this same argument previously made by Norton. In its summary

judgment opinion, the Court noted that “Symantec seems to argue . . . that the Government has

asserted the kind of ‘per se materiality’ forbidden by Escobar.” Symantec, 471 F. Supp. 3d at

302. The Court acknowledged that Escobar held that “‘statutory, regulatory, and contractual

requirements are not automatically material, even if they are labeled conditions of payment’ and

that ‘[t]he materiality standard is demanding.’” Id. (alteration in original) (quoting Escobar, 136

S. Ct. at 2001, 2003). But the Court then held that “[i]n this case, the Government has met that

standard because its allegations against Symantec are more than ‘garden-variety breaches of

contract or regulatory violations.’” Id. (quoting Escobar, 136 S. Ct. at 2003). Because the Court

already scrutinized Norton’s per se materiality argument based on Escobar, the Court did not fail

to consider controlling authority. Reconsideration is therefore not justified on this ground.

       Norton’s argument is also based on an incorrect reading of Escobar. The Supreme Court

in Escobar did not hold that materiality can never be found through “the Court’s reading of the

relevant contract requirements.” Mem. at 11. The Court in Escobar held that “statutory,

regulatory, and contractual requirements are not automatically material, even if they are labeled

conditions of payment.” Escobar, 136 S. Ct. at 2001 (emphasis added). “[G]arden-variety

breaches of contract or regulatory violations” are not material. Id. at 2003. Merely having “the

option to decline to pay” due to certain noncompliance is not alone proof of materiality. Id.

Noncompliance that is “minor or insubstantial” is not material. Id. Taking these together, the

Court was refuting the notion that every violation that could hypothetically justify nonpayment is

necessarily and automatically material. See id. (“[T]he Government’s decision to expressly




                                                12
        Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 13 of 20




identify a provision as a condition of payment is relevant, but not automatically dispositive.”).

The Court was not saying that materiality can never be found by analyzing statutory, regulatory,

or contractual provisions.

       Under this reading of Escobar, the Court sees no aspect of Escobar that it failed to

consider that could justify reconsideration. Although not every contractual provision that could

justify nonpayment is material, the Court remains convinced that the record supported denying

Norton’s motion for summary judgment. Namely, the record shows that the provisions at issue

are important enough to the Government’s contracting and payment decisions such that Norton

has not shown beyond any genuine dispute of material fact that Norton’s alleged falsities relating

to those provisions were immaterial. See, e.g., Symantec, 471 F. Supp. 3d at 302 (“CSP

disclosure obligations are integrally connected to the Government’s determinations of what it

will pay on a MAS schedule contract.”); id. at 303 (“The very existence of the CSPs disclosure

requirements and the GSAM’s instructions to incorporate them into every MAS Schedule

contract that GSA negotiates suggests that they will have at least some influence in shaping

GSA’s decisions.”); id. at 304 (“PRC violations would necessarily have been material to

payments, because regardless of the precise details of how the price-discount relationship would

be calculated, the entire point of the PRC was to require price reductions when appropriate. If

prices were not properly reduced when required under the PRC, this would obviously and

necessarily be material to overpayments by the plaintiffs.”).

       McBride is distinguishable on this issue. Norton argues that the court in McBride held

“that the plaintiff adduced no evidence of materiality beyond the regulatory and statutory text

establishing a condition of payment.” Mem. at 12. But the problem with the McBride relator’s

evidence was not sole reliance on “regulatory and statutory text.” As discussed above, the




                                                13
              Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 14 of 20




problem in McBride was that the relator alleged that the defendant “may have used inflated

headcounts to justify excessive staffing levels” that in turn led to unreasonable costs, but did “not

actually set out to prove that staffing was excessive or costs were ‘unreasonable,’” relying

instead on “[t]he assumption . . . that accurate headcount data was relevant to determining the

reasonableness of costs” and testimony that a contracting officer “‘might’ have investigated

further had he known false head counts were being maintained, and that such an investigation

‘might’ have resulted in some charged costs being disallowed.” Id. The court concluded that

“[a]bsent any connection between headcounts and cost determinations,” the relator had failed to

proffer sufficient evidence of materiality to avoid summary judgment. Id. McBride does not say

that reliance on statutory, regulatory, or contractual terms can never be sufficient.

          Here, in contrast to McBride, there is no difficulty seeing “any connection” between the

alleged falsities and the likely contracting or payment behavior of the Government. “CSP

disclosure obligations are integrally connected to the Government’s determinations of what it

will pay on a MAS schedule contract.” Symantec, 471 F. Supp. 3d at 302. “[T]he entire point of

the PRC was to require price reductions when appropriate.” Id. at 304. Unlike in McBride,

where the relator provided essentially no evidence connecting headcount to billed costs despite

government evidence that “headcount data . . . had no bearing on costs billed to the

Government,” 848 F.3d at 1033, here, the CSPs and PRC are directly related to setting contract

price.3



          3
         Norton advances other arguments that clearly do not meet the standard for
reconsideration. For example, Norton argues that the Government failed to produce any
evidence of materiality—and that Norton therefore should have been granted summary
judgment—because “the Court’s opinion recognized undisputed evidence that the challenged
disclosures did not influence the government’s ultimate payment or contracting decisions.”
Mem. at 14. There is no argument that this supposed error was caused by a failure of the Court
to consider controlling authority. Even under Norton’s incorrect reading of Escobar that would


                                                  14
        Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 15 of 20




                                  *              *              *

       Because Norton has not shown any aspect of a controlling decision related to materiality

that the Court failed to consider in its summary judgement opinion, Norton’s motion for

reconsideration is denied with respect to materiality.

                                           B. Scienter

       Norton argues “that the Court’s holding regarding the element of scienter under the

FCA . . . directly contravened [the] binding Circuit precedent” of United States ex rel. Purcell v.

MWI Corp., 807 F.3d 281 (D.C. Cir. 2015). Mem. at 19. As with materiality, the Court would

be justified in denying reconsideration merely because the Court already considered Purcell in

its summary judgment opinion in relation to scienter:

       Symantec argues that because the PRC is ambiguous, it escapes liability because
       the undisputed material facts show that it interpreted the ambiguous clause in a
       reasonable way and was never warned away from that interpretation. Sym. MSJ
       at 53–54 (citing United States ex rel. Purcell v. MWI Corp., 807 F.3d 281, 283–89
       (D.C. Cir. 2015)). . . . Merely putting forward a reasonable alternative
       interpretation of the text, however, is not enough, as it only shows facial
       ambiguity.

Symantec, 471 F. Supp. 3d at 304. Norton therefore fails to show that the Court failed to

consider controlling decisions by not considering Purcell.

       As with materiality, that could be the end of the inquiry for scienter for this motion for

reconsideration. To be thorough, the Court also now analyzes whether the Court failed to



require evidence of how the Government’s actual payment decisions were affected, Norton
ignores that the Court found the evidence to be disputed. Compare Mem. at 15 (“[T]he Court
noted undisputed evidence that the contracting officer in this case had specifically determined,
based on her own outside ‘market research,’ that the pricing structure under the Company’s
contract was, in fact, fair and reasonable.” (quoting Symantec, 471 F. Supp. 3d at 302)), with
Symantec, 471 F. Supp. 3d at 302 (explaining that even though contracting officer conducted
independent research and concluded that prices were fair and reasonable, “[n]othing about the
language of the Pre-Negotiation Memorandum suggests that this independent research was relied
on to the exclusion of the CSPs”).


                                                15
        Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 16 of 20




previously consider certain aspects of Purcell, rather than the decision as a whole. Norton fails

to identify aspects of Purcell that the Court failed to consider because Norton points to a

misunderstanding of Purcell.

       “To be liable under the FCA, a defendant must have made the false claims knowingly.”

Purcell, 807 F.3d at 287. A defendant has not acted knowingly if it made “an innocent, good-

faith mistake about the meaning of an applicable rule or regulation,” or acted “based on

reasonable but erroneous interpretations of a defendant’s legal obligations.” Id. at 287–88. Even

if a defendant held a reasonable interpretation, “a jury might still find knowledge if there is

interpretive guidance ‘that might have warned [the defendant] away from the view it took.’” Id.

at 288 (alteration in original) (quoting United States ex rel. K & R Ltd. P’ship v. Massachusetts

Hous. Fin. Agency, 530 F.3d 980, 983 (D.C. Cir. 2008)).

       Norton argues that “a defendant is entitled to summary judgment on the element of

scienter if there is no genuine dispute that (1) the contractual terms upon which the alleged FCA

violations are premised are ambiguous, (2) the defendant’s interpretation of those ambiguous

terms is objectively reasonable, and (3) the government fails to identify evidence that it warned

the defendant away from that reasonable interpretation.” Mem. at 20. According to Norton, it

was entitled to summary judgment because all of these were met. See Mem. at 20–21. Norton

argues that the Court erred with respect to element two when it based its summary judgment

opinion in part upon the requirement that a defendant’s interpretation be held

contemporaneously.

       Norton argues that under Purcell, “the timing of the defendant’s interpretation—and the

defendant’s subjective intent—are irrelevant.” Mem. at 20 (citing Purcell, 807 F.3d at 290); see

also Mem. at 23 n.9 (“Purcell does not require a showing that the defendant held its reasonable




                                                 16
           Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 17 of 20




interpretation of the ambiguous contract provision at the time the contract was formed.”); Reply

at 22 (“If subjective intent is irrelevant, so must be the question of when that intent was

formed.”). The Court previously denied summary judgment for Norton in part due to genuine

disputes of material fact regarding whether Norton “held its favored interpretations at the time

the contract was formed.” Symantec, 471 F. Supp. 3d at 305. Norton is therefore arguing that

the Court failed to consider Purcell because the Court added a contemporaneity requirement that

“Purcell does not require.” Mem. at 23 n.9.

       Reconsideration is not justified on this issue because the Court previously considered this

question and Norton cites no controlling authority to the contrary. The Court previously stated

that “a claimant cannot avoid liability by manufacturing an after-the-fact reasonable

interpretation of an ambiguous provision.” Symantec, 471 F. Supp. 3d at 305 (quoting United

States ex rel. Bahnsen v. Boston Sci. Neuormodulation Corp., No. 11-cv-1210, 2017 WL

6403864, at *9 (D.N.J. Dec. 15, 2017)).4 Norton claims that Purcell “definitively rejected this

requirement” of contemporaneity. Reply at 22. But Purcell does not explicitly state whether a

reasonable interpretation must have been held contemporaneously. Its language, however,

indicates that contemporaneity is necessary. Purcell refers to “the defendant’s interpretation of

an ambiguous term” and “its reasonable interpretation.” 807 F.3d at 290. Standing alone, these

phrases could plausibly refer to either a contemporaneous interpretation or a current litigation

position. But if it were the latter, the court could have referred to “a reasonable interpretation” or

“any reasonable interpretation.”


       4
         Norton cites a Third Circuit case that is supposedly “irreconcilable” with Bahnsen.
Mem. at 23 n.9. But that case supports a contemporaneity requirement by stating that “a defense
on a reasonable, but erroneous, interpretation of a statute” requires that “a defendant's
interpretation of that ambiguity was objectively unreasonable.” United States v. Allergan, Inc.,
746 F. App’x 101, 106 (3d Cir. 2018) (emphasis added).


                                                 17
           Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 18 of 20




       Purcell’s statement that “subjective intent—including bad faith—is irrelevant when a

defendant seeks to defeat a finding of knowledge based on its reasonable interpretation of a

regulatory term,” 807 F.3d at 290, does not mean that the reasonable interpretation need not have

been held contemporaneously, as Norton argues. See Reply at 22 (“If subjective intent is

irrelevant, so must be the question of when that intent was formed.”). There is nothing

irreconcilable about requiring a defendant to have actually held its objectively reasonable

interpretation at the relevant time, while ignoring whether that defendant subjectively desired to

submit falsities. Additionally, in noting that subjective intent is irrelevant for defeating a finding

of knowledge based on a reasonable interpretation of a regulatory term, the Purcell court noted

that “all this evidence might imply is that [defendant] did not hew to its reasonable interpretation

in good faith.” Id. This phrasing implies that the court accepted that the defendant did hew to

“its reasonable interpretation” at the time, whether in good faith or not, and that a reasonable

interpretation must have been held contemporaneously to defeat a finding of knowledge.

       Nowhere in Purcell or any other case cited by Norton does a court say that post-hoc

interpretations are acceptable, and “culpability is generally measured against the knowledge of

the actor at the time of the challenged conduct.” Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct.

1923, 1933 (2016); cf. Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 70 (2007) (“Congress could

not have intended such a result for those who followed an interpretation that could reasonably

have found support in the courts, whatever their subjective intent may have been.” (emphasis

added)).5 To the contrary, there are cases indicating that contemporaneous adoption is required.




       5
         Norton disparages the Government’s citation of Halo Electronics, but Halo discussed
Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47 (2007), and Safeco formed the basis for the
discussion of subjective intent in Purcell. See Purcell, 807 F.3d at 290 (citing Safeco, 551 U.S.
at 70 n.20, for the proposition that “the Supreme Court clarified that subjective intent—including


                                                 18
          Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 19 of 20




See, e.g., United States v. Newman, No. CV 16-1169 (CKK), 2017 WL 3575848, *8 (D.D.C.

Aug. 17, 2017) (explaining that “Defendants’ argument about knowing falsity is incapable of

resolution at the pleading stage” because “the complaint . . . says nothing about whether

Defendant held or acted on any particular interpretation of the regulations at issue” (emphasis

added)). If defendants were able to defeat scienter merely with interpretations adopted for

litigation, rather than those actually held and used, this Court would have expected that to be

stated clearly by a higher court.

          Because Norton has not shown any aspect of a controlling decision related to scienter that

the Court failed to consider in its summary judgement opinion, Norton’s motion for

reconsideration is denied with respect to scienter.

                                         C. States’ Claims

          Regarding the States’ claims, Norton briefly argues that “[b]ecause the government has

failed to adduce the necessary evidence as to the elements of materiality and scienter on its FCA

claims, . . . the State Claims fail as well for the same reasons.” As explained above, the Court

disagrees that reconsideration is warranted for those previous summary judgment rulings.

Therefore, to the extent Norton’s argument for reconsideration of the States’ claims relies on its

arguments about the federal claims, Norton’s motion for reconsideration of the state claims is

denied.

          Norton does not put forth any other argument that could support reconsideration of the

Court’s prior summary judgment rulings regarding the States’ claims. Norton does not attempt

to demonstrate how the Rule 54(b) standard is met for these claims. This section of Norton’s




bad faith—is irrelevant when a defendant seeks to defeat a finding of knowledge based on its
reasonable interpretation of a regulatory term”).


                                                  19
        Case 1:12-cv-00800-RC Document 260 Filed 08/03/21 Page 20 of 20




memorandum contains no citation to, or discussion of, any aspect of the Court’s summary

judgment opinion to show where the Court failed to consider relevant authority, nor any effort to

demonstrate how any of the other justifications for reconsideration are met. Norton’s motion for

reconsideration related to the States’ claims is therefore denied.

                                       V. CONCLUSION

       For the foregoing reasons, Norton’s Motion for Reconsideration is DENIED. An order

consistent with this Memorandum Opinion is separately and contemporaneously issued.


Dated: August 2, 2021                                                RUDOLPH CONTRERAS
                                                                     United States District Judge




                                                 20
